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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

  ASSOCIATION OF NEW JERSEY         )
  RIFLE & PISTOL CLUBS, INC., et    ) Civil Action No. 3:18-cv-10507-PGS-
  al.                               ) LHG
                                    )
                 Plaintiffs,        )
                                    )
       v.
                                    )
  MATTHEW PLATKIN, et al.
                                    )
                                    )
                 Defendants.
                                    )
  _________________________________
                                    )
                                    )
  MARK CHEESEMAN, et al.
                                    )
                 Plaintiffs,        )
                                    ) Civil Action No. 3:22-cv-4360-PGS-
       v.                           ) LHG
  MATTHEW PLATKIN, et al.           )
                                    )
                 Defendants.        )
  _________________________________ )
                                    )
  BLAKE ELLMAN, et al.              )
                                    )
                 Plaintiffs,        )
       v.                           )
  MATTHEW PLATKIN, et al.           )
                                    ) Civil Action No. 1:22-cv-4397-PGS-
                 Defendants.        ) LHG
                                    )
                                    )

       ORDER EXCLUDING CERTAIN EXPERT TESTIMONY OF DEFENDANTS




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          THIS MATTER having been opened to the Court upon the application of Hartman &

  Winnicki, P.C., attorneys for Plaintiffs, to Exclude Certain Expert Testimony and the Court

  having considered the submissions of counsel; and for good cause having been shown;

  IT IS on this ___ day of 2023, ORDERED AS FOLLOWS:

          1.    Plaintiffs’ Motion to Exclude Certain Expert Testimony is hereby granted in its

  entirety;

          2.    The following defense experts are hereby precluded from offering testimony in

  this matter: Saul Cornell, Robert Spitzer, Randolph Roth, Stephen Hargarten, Louis Klarevas,

  Lucy Allen, Daniel Webster, James Yurgealitis, and Dennis Baron.




                                                           ______________________________
                                                           HON. PETER SHERIDAN, U.S.D.J.




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